                        IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE - NASHVILLE DIVISION

IN RE:

Integrated Healing Technologies, LLC                       CASE NO. 18-04526-RM3-7
                                                           CHAPTER 7
                                                           JUDGE Randal S. Mashburn
         DEBTOR.


                                        ORDER TO SELL PROPERTY

        Upon consideration of the motion of John C. McLemore, Trustee, for authority sell the following
property:

         Sorbact stock as defined in Exhibit 1 attached to the Motion to Sell


         The Motion and Proposed Order were served on the Debtor(s), Debtor’s counsel, all creditors and all
parties requesting notice. Each was given twenty-one (21) days to object. No objections have been filed with
the Court;

         And it appearing to the Court that the sale of property will be beneficial to the bankruptcy estate;

         It is hereby

         ORDERED that John C. McLemore, Trustee, is authorized to sell this property pursuant to the
provisions of 11 U.S.C. § 363 free and clear of all liens with the liens that may exist attaching to the proceeds
of the sale.

         It is further ORDERED that the 14 day stay of the sale of this property following the entry of this order
set out in FRBP 6004(h) is hereby WAIVED.

         It is further ORDERED the Trustee will file a report of sale as required by FRBP 6004(f).

         This Order was signed and entered electronically as indicated at the top of this page.

APPROVED FOR ENTRY:

/s/ John C. McLemore, Trustee
John C. McLemore, Trustee
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